                                   Case 17-16802-RAM                     Doc 1     Filed 05/31/17             Page 1 of 102

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Maria
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Montano
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-8529
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
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Debtor 1   Maria Montano                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 6814 S.W. 83rd Place
                                 Miami, FL 33149
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Miami-Dade
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                Case 17-16802-RAM                      Doc 1        Filed 05/31/17            Page 3 of 102
Debtor 1    Maria Montano                                                                                 Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Maria Montano                                                                                  Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   See Attachment
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                                     Case 17-16802-RAM                  Doc 1         Filed 05/31/17       Page 5 of 102
Debtor 1    Maria Montano                                                                              Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Maria Montano                                                                                 Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Maria Montano
                                 Maria Montano                                                     Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 31, 2017                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Maria Montano                                                                                  Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Paul L. Orshan                                                 Date         May 31, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Paul L. Orshan
                                Printed name

                                ORSHAN, P.A.
                                Firm name

                                701 Brickell Ave.
                                Suite 2000
                                Miami, FL 33131
                                Number, Street, City, State & ZIP Code

                                Contact phone     305-529-9380                               Email address         paul@orshanpa.com
                                FBN 776203
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                    Case 17-16802-RAM                  Doc 1      Filed 05/31/17         Page 8 of 102
Debtor 1         Maria Montano                                                                      Case number (if known)


Fill in this information to identify your case:

Debtor 1               Maria Montano
                       First Name                 Middle Name                Last Name

Debtor 2
(Spouse if, filing)    First Name                 Middle Name                Last Name


United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF FLORIDA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


                                                  FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                Additional Sole Proprietorship(s)



1121 Hair Designers and Boutique, Inc.
Name of business, if any

1121 Crandon Blvd.
Key Biscayne, FL 33149
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above


National Freight Masters, Inc.
Name of business, if any

4300 S.W. 73d Ave.
Suite 104
Miami, FL 33155
Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
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 Fill in this information to identify your case:

 Debtor 1                   Maria Montano
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             320,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              47,510.15

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             367,510.15

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             336,983.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $              26,689.77

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          2,710,804.04


                                                                                                                                     Your total liabilities $             3,074,476.81


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,764.37

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,997.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                  Case 17-16802-RAM                   Doc 1      Filed 05/31/17               Page 10 of 102
 Debtor 1      Maria Montano                                                              Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            26,689.77

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $             7,710.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             34,399.77




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                       Case 17-16802-RAM                                Doc 1          Filed 05/31/17            Page 11 of 102
 Fill in this information to identify your case and this filing:

 Debtor 1                    Maria Montano
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF FLORIDA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6814 S.W. 83rd Place                                                           Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Miami                             FL        33149-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $320,000.00                $320,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Miami-Dade                                                                     Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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 Debtor 1         Maria Montano                                                                                                 Case number (if known)

        If you own or have more than one, list here:
 1.2                                                                         What is the property? Check all that apply
        9415 S.W. 42nd Street                                                         Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                      Current value of the        Current value of the
        Miami                             FL        33155-0000                        Land                                            entire property?            portion you own?
        City                              State              ZIP Code                 Investment property                                    $400,000.00                           $0.00
                                                                                      Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Other                                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.
                                                                                      Debtor 1 only                                   Equitable ownership
        Miami-Dade                                                                    Debtor 2 only
        County                                                                        Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                      At least one of the debtors and another              (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             This is the Debtor's adult daughter's home. Adult daughter paid for and is living
                                                                             in this home. Debtor has never provided any funds used to purchase, pay the
                                                                             mortgage, repair or improve this home.


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $320,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:         BMW                                             Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        320                                                Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
          Year:         2015                                               Debtor 2 only                                               Current value of the       Current value of the
          Approximate mileage:                    unknown                  Debtor 1 and Debtor 2 only                                  entire property?           portion you own?
          Other information:                                               At least one of the debtors and another
         LEASE - Debtor's adult daughter
         is also on the lease                                              Check if this is community property                                    Unknown                     Unknown
                                                                           (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                                  $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                              Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.
Official Form 106A/B                                                             Schedule A/B: Property                                                                             page 2
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 Debtor 1       Maria Montano                                                                       Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    15 year old sofa - $50
                                    20 year old side table - $20
                                    20 year old coffee table $20
                                    10 year old side table - $50
                                    15 year old lamp - $20
                                    35 year old twin bed - $40
                                    35 year old armoire - $40
                                    35 year old side table - $15
                                    5 year old twin bed - $10
                                    30 year old armoire - $40
                                    30 year old side table - $20
                                    20 year old queen bed - $50
                                    5 year old couch - $50
                                    5 year old TV table - $30
                                    5 year old side table - $10
                                    35 year old patio furniture - $40                                                                              $505.00


                                    miscellaneous home decorations                                                                                   $50.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    5 year old TV - $200
                                    5 year old TV - $200
                                    5 year old TV - $50                                                                                            $450.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Women's attire                                                                                                 $150.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
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 Debtor 1          Maria Montano                                                                                                  Case number (if known)

        Yes. Describe.....

                                            1 18k gold ring - $100
                                            1 18k gold bracelet - $85
                                            1 14k gold chain and pendant - $100
                                            1 Raymond Weil watch - $150
                                            costume jewelry - $5                                                                                                           $435.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $1,590.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Suntrust Personal Checking Account No.: 8068                           $1,285.56


                                                                                                  Suntrust Business Checking Account No.: 8050
                                              17.2.       Checking                                1121 Hair Designers and Boutique, Inc.                                 $7,415.92


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        Etrade 5576                                                                                                      $1,688.21


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                    % of ownership:

                                                  1121 Hair Designers and Boutique, Inc.                                                  100           %                 Unknown



Official Form 106A/B                                                                       Schedule A/B: Property                                                              page 4
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 Debtor 1         Maria Montano                                                                               Case number (if known)


                                            National Freight Masters, Inc. - unknown %
                                            ownership                                                                           %                       Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          IRA                               American Funds IRA 669/4                                                 $35,530.46


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......

Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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 Debtor 1        Maria Montano                                                                                                   Case number (if known)


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                               value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $45,920.15


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 6
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 Debtor 1         Maria Montano                                                                                                         Case number (if known)

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $320,000.00
 56. Part 2: Total vehicles, line 5                                                                                $0.00
 57. Part 3: Total personal and household items, line 15                                                       $1,590.00
 58. Part 4: Total financial assets, line 36                                                                  $45,920.15
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $47,510.15              Copy personal property total       $47,510.15

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $367,510.15




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                                     Case 17-16802-RAM                     Doc 1       Filed 05/31/17             Page 18 of 102
 Fill in this information to identify your case:

 Debtor 1                    Maria Montano
                             First Name                     Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                 Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6814 S.W. 83rd Place Miami, FL 33149                           $320,000.00                              $185,176.00      Fla. Const. art. X, § 4(a)(1); Fla.
      Miami-Dade County                                                                                                        Stat. Ann. §§ 222.01 & 222.02
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Checking: Suntrust Personal Checking                             $1,285.56                                               Fla. Stat. Ann. § 222.201; 11
      Account No.: 8068                                                                                                        U.S.C. § 522(d)(10)(A)
      Line from Schedule A/B: 17.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      Etrade 5576                                                      $1,688.21                                 $1,000.00     Fla. Const. art. X, § 4(a)(2)
      Line from Schedule A/B: 18.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      IRA: American Funds IRA 669/4                                   $35,530.46                                               Fla. Stat. Ann. § 222.21(2)
      Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes
Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 1
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                                     Case 17-16802-RAM                       Doc 1          Filed 05/31/17             Page 19 of 102
 Fill in this information to identify your case:

 Debtor 1                   Maria Montano
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bayview Financial Loan                   Describe the property that secures the claim:               $196,926.00               $400,000.00                     $0.00
         Creditor's Name                          9415 S.W. 42nd Street Miami, FL
                                                  33155 Miami-Dade County
                                                  This is the Debtor's adult daughter's
                                                  home. Adult daughter paid for and is
                                                  living in this home.Debtor has never
                                                  provided any funds used to purchase,
                                                  pay mortgage or improve the home.
                                                  As of the date you file, the claim is: Check all that
         4425 Ponce De Leon Blvd                  apply.
         Coral Gables, FL 33146                       Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 02/13 Last
                                 Active
 Date debt was incurred          8/05/16                   Last 4 digits of account number        6338


 2.2     Bmw Financial Services                   Describe the property that secures the claim:                   $5,233.00                 Unknown             Unknown
         Creditor's Name                          2015 BMW 320 unknown miles
                                                  LEASE - Debtor's adult daughter is
                                                  also on the lease
                                                  As of the date you file, the claim is: Check all that
         5515 Parkcenter Cir                      apply.
         Dublin, OH 43017                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                     Case 17-16802-RAM                          Doc 1          Filed 05/31/17             Page 20 of 102

 Debtor 1 Maria Montano                                                                                       Case number (if know)
               First Name                  Middle Name                      Last Name


       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 01/15 Last
                                 Active
 Date debt was incurred          1/12/17                     Last 4 digits of account number         7561


 2.3     Nationstar Mortgage Ll                     Describe the property that secures the claim:                  $134,824.00           $320,000.00             $0.00
         Creditor's Name                            6814 S.W. 83rd Place Miami, FL
                                                    33149 Miami-Dade County
                                                    As of the date you file, the claim is: Check all that
         350 Highland Dr                            apply.
         Lewisville, TX 75067                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 10/13 Last
                                 Active
 Date debt was incurred          1/10/17                     Last 4 digits of account number         4697



   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $336,983.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $336,983.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     Maria Montano
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Florida Department of Revenue                          Last 4 digits of account number                            $625.51              $625.51                 $0.00
              Priority Creditor's Name
              Miami South Service Center                             When was the debt incurred?           2016
              8175 NW 12 St.
              #119
              Miami, FL 33126-1828
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes




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 Debtor 1 Maria Montano                                                                                      Case number (if know)

 2.2      Internal Renevue Service                                   Last 4 digits of account number     2902                $9,060.00   $9,060.00              $0.00
          Priority Creditor's Name
          AUR CORR 5-E08-113                                         When was the debt incurred?         2014
          Philadelphia, PA 19255-0521
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.3      Internal Revenue Service                                   Last 4 digits of account number     5962                $5,563.96   $5,563.96              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?         2016
          Cincinnati, OH 45999-0039
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes


 2.4      Internal Revenue Service                                   Last 4 digits of account number     5962                $1,635.29      $0.00         $1,635.29
          Priority Creditor's Name
          Department of the Treasury                                 When was the debt incurred?         2016
          Ogden, UT 84201-0039
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes




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 Debtor 1 Maria Montano                                                                                      Case number (if know)

 2.5        Internal Revenue Service                                 Last 4 digits of account number     5962                $5,853.80              $5,853.80                    $0.00
            Priority Creditor's Name
            Department of the Treasury                               When was the debt incurred?         2016
            Cincinnati, OH 45999-0039
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes


 2.6        Internal Revenue Service                                 Last 4 digits of account number     5962                $3,951.21              $3,951.21                    $0.00
            Priority Creditor's Name
            Department of the Treasury                               When was the debt incurred?         2016
            Kansas City, MO 64999-0202
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




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          Advantage Funding Commercial
 4.1      Capital Cor                                                Last 4 digits of account number                                                     $431,948.26
          Nonpriority Creditor's Name
          c/o Mitriani Raynor                                        When was the debt incurred?
          1200 Weston Rd.
          Penthouse
          Weston, FL 33326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Alliance One                                               Last 4 digits of account number       0707                                               $336.23
          Nonpriority Creditor's Name
          6565 Kimball Dr.                                           When was the debt incurred?
          Suite 200
          Gig Harbor, WA 98335
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      American Express Bank FSB                                  Last 4 digits of account number                                                      $12,871.56
          Nonpriority Creditor's Name
          c/o Lisa Di Salle                                          When was the debt incurred?
          9550 Regency Square Blvd.
          Suite 501
          Jacksonville, FL 32225
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.4      American Express Bank, FSB                                 Last 4 digits of account number                                                     $115,539.77
          Nonpriority Creditor's Name
          c/o Modlin & Associates, PA                                When was the debt incurred?
          1551 Sawgrass Corp. Pkwy.
          Suite 110
          Sunrise, FL 33323
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Amex                                                       Last 4 digits of account number       4783                                           $93,039.00
          Nonpriority Creditor's Name
                                                                                                           Opened 02/14 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6      Amex                                                       Last 4 digits of account number       2243                                           $13,753.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.7      Amex                                                       Last 4 digits of account number       4613                                           $12,871.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/15 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8      Amex                                                       Last 4 digits of account number       6433                                             $9,457.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Amex                                                       Last 4 digits of account number       6763                                             $7,005.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.1
 0        Amex                                                       Last 4 digits of account number       6903                                             $6,036.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/15 Last Active
          Po Box 297871                                              When was the debt incurred?           8/09/16
          Fort Lauderdale, FL 33329
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 1        AXE Trailers                                               Last 4 digits of account number       9879                                             $3,400.00
          Nonpriority Creditor's Name
          250 Congress Park Dr.                                      When was the debt incurred?
          Unit 420
          Delray Beach, FL 33445
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 2        Axis Capital                                               Last 4 digits of account number       6793                                             $6,033.36
          Nonpriority Creditor's Name
          POB 911685                                                 When was the debt incurred?
          Denver, CO 80291-1685
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.1
 3        Bank of Lake Mills                                         Last 4 digits of account number                                                      $51,676.00
          Nonpriority Creditor's Name
          136 E. Madison St.                                         When was the debt incurred?
          Lake Mills, WI 53551
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 4        Blue Bridge Financial LLC                                  Last 4 digits of account number                                                     $109,488.76
          Nonpriority Creditor's Name
          535 Washington St.                                         When was the debt incurred?
          Suite 201
          Buffalo, NY 14203
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 5        BMO Harris Bank, NA                                        Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Emanuel & Zwiebel, PLLC                                When was the debt incurred?
          7900 Peters Rd., Executive Court at
          Jaca
          Building B, Suite 100
          Plantation, FL 33324
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.1
 6        Bmw Bank Of North Amer                                     Last 4 digits of account number       5092                                             $2,417.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/02 Last Active
          2735 E Parleys Ways Ste                                    When was the debt incurred?           2/22/17
          Salt Lake City, UT 84109
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 7        C.H. Brown Co.                                             Last 4 digits of account number       6945                                          $130,533.22
          Nonpriority Creditor's Name
          c/o Perry Law, P.A.                                        When was the debt incurred?
          100 Main St.
          Suite 208
          Safety Harbor, FL 34695
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 8        Can Capital Asset Servicing, Inc.                          Last 4 digits of account number                                                     $141,948.00
          Nonpriority Creditor's Name
          c/o Mateer & Harbert, OA                                   When was the debt incurred?
          225 E. Robinson St.
          Orlando, FL 32802-2854
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.1
 9        CanaFunding Capital LLC                                    Last 4 digits of account number                                                      $47,363.01
          Nonpriority Creditor's Name
          c/o McCarty Law LLP                                        When was the debt incurred?
          2401 E. Enterprise Way
          Appleton, WI 54913
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 0        Capital One Bank Usa N                                     Last 4 digits of account number       5493                                           $18,710.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          15000 Capital One Dr                                       When was the debt incurred?           7/11/16
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 1        Capital One Bank Usa N                                     Last 4 digits of account number       9602                                           $12,087.00
          Nonpriority Creditor's Name
                                                                                                           Opened 07/15 Last Active
          15000 Capital One Dr                                       When was the debt incurred?           8/10/16
          Richmond, VA 23238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.2
 2        Chase Card                                                 Last 4 digits of account number       2373                                             $3,884.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/15 Last Active
          Po Box 15298                                               When was the debt incurred?           8/25/16
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 3        Chase Ink                                                  Last 4 digits of account number       3903                                             $7,590.48
          Nonpriority Creditor's Name
          POB 15123                                                  When was the debt incurred?
          Wilmington, DE 19850-5123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 4        Comcast                                                    Last 4 digits of account number       2793                                               $630.55
          Nonpriority Creditor's Name
          POB 530098                                                 When was the debt incurred?
          Atlanta, GA 30353
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.2
 5        Comdata                                                    Last 4 digits of account number       9990                                             $3,358.12
          Nonpriority Creditor's Name
          c/o Jonathan Neil & Associates, Inc.                       When was the debt incurred?
          18321 Ventura Blvd.
          Suite 1000
          Tarzana, CA 91356
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 6        Comenitycapital/lndclb                                     Last 4 digits of account number       3440                                             $1,665.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/14 Last Active
          3100 Easton Square Pl                                      When was the debt incurred?           1/19/17
          Columbus, OH 43219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.2
 7        Commonwealth of Massachusetts                              Last 4 digits of account number                                                          $256.70
          Nonpriority Creditor's Name
          EZ Drive MA Payment Processing                             When was the debt incurred?
          Center
          POB 847840
          Boston, MA 02284-7840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.2
 8        Crystal Springs                                            Last 4 digits of account number       7149                                               $249.43
          Nonpriority Creditor's Name
          POB 660579                                                 When was the debt incurred?
          Dallas, TX 75266-0579
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 9        Dell Business Credit                                       Last 4 digits of account number                                                        $6,944.35
          Nonpriority Creditor's Name
          POB 5275                                                   When was the debt incurred?
          Carol Stream, IL 60197-5275
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 0        Dynamic Trackers Corp                                      Last 4 digits of account number       7605                                             $3,227.80
          Nonpriority Creditor's Name
          15151 W Dixie Hwy                                          When was the debt incurred?
          North Miami, FL 33162
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.3      Euler Hermes Collections North
 1        America                                                    Last 4 digits of account number       7395                                             $2,878.22
          Nonpriority Creditor's Name
          800 Red Brook Blvd                                         When was the debt incurred?
          Suite 400 C
          Owings Mills, MD 21117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 2        Farmers Insurance                                          Last 4 digits of account number                                                        $1,443.35
          Nonpriority Creditor's Name
          POB 268992                                                 When was the debt incurred?
          Oklahoma City, OK 73126-8992
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 3        FedEx                                                      Last 4 digits of account number       3843                                                 $55.47
          Nonpriority Creditor's Name
          POB 660481                                                 When was the debt incurred?
          Dallas, TX 75266-0481
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.3
 4        Fleetmatics                                                Last 4 digits of account number       4031                                             $1,445.04
          Nonpriority Creditor's Name
          1100 Winter St.                                            When was the debt incurred?
          4th Floor
          Waltham, MA 02451
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 5        Florida Department of Transportation                       Last 4 digits of account number       9625                                               $424.16
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 6        Florida Department of Transportation                       Last 4 digits of account number       1943                                               $320.22
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.3
 7        Florida Department of Transportation                       Last 4 digits of account number       5291                                                 $90.64
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 8        Florida Department of Transportation                       Last 4 digits of account number       4915                                               $317.50
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 9        Florida Department of Transportation                       Last 4 digits of account number       9753                                               $151.12
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.4
 0        Florida Department of Transportation                       Last 4 digits of account number       2439                                               $136.23
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 1        Florida Department of Transportation                       Last 4 digits of account number       8713                                             $1,019.61
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 2        Florida Department of Transportation                       Last 4 digits of account number       9753                                               $148.62
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.4
 3        Florida Department of Transportation                       Last 4 digits of account number       1943                                               $317.72
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 4        Florida Department of Transportation                       Last 4 digits of account number       5265                                               $412.32
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 5        Florida Department of Transportation                       Last 4 digits of account number       8383                                               $508.84
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.4
 6        Florida Department of Transportation                       Last 4 digits of account number       1901                                               $642.12
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 7        Florida Department of Transportation                       Last 4 digits of account number       0149                                               $174.25
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 8        Florida Department of Transportation                       Last 4 digits of account number       5265                                               $344.82
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.4
 9        Florida Department of Transportation                       Last 4 digits of account number       8833                                               $343.92
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 0        Florida Department of Transportation                       Last 4 digits of account number       1943                                               $247.88
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 1        Florida Department of Transportation                       Last 4 digits of account number       1507                                               $243.67
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.5
 2        Florida Department of Transportation                       Last 4 digits of account number       9625                                               $286.46
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 3        Florida Department of Transportation                       Last 4 digits of account number       4915                                               $273.06
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 4        Florida Department of Transportation                       Last 4 digits of account number       8373                                               $198.40
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.5
 5        Florida Department of Transportation                       Last 4 digits of account number       8981                                               $176.77
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 6        Florida Department of Transportation                       Last 4 digits of account number       3345                                                   $5.79
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 7        Florida Department of Transportation                       Last 4 digits of account number       5429                                                   $6.32
          Nonpriority Creditor's Name
          Toll-by-Plate                                              When was the debt incurred?
          POB 105477
          Atlanta, GA 30348-5477
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.5
 8        Florida Power & Light                                      Last 4 digits of account number       7084                                               $468.80
          Nonpriority Creditor's Name
          General Mail Facility                                      When was the debt incurred?
          Miami, FL 33188-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 9        Fuel Tech                                                  Last 4 digits of account number       5335                                           $87,949.16
          Nonpriority Creditor's Name
          2565 Horizon Lake Dr.                                      When was the debt incurred?
          Suite 120
          Memphis, TN 38133
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 0        Funding Circle                                             Last 4 digits of account number                                                     $185,629.72
          Nonpriority Creditor's Name
          c/o Law Offices of Sprechman &                             When was the debt incurred?
          Fisher,PA
          2775 Sunny Isles Blvd.
          Suite 100
          Miami, FL 33160
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.6
 1        Hitachi Capital America Corp                               Last 4 digits of account number                                                     $492,629.70
          Nonpriority Creditor's Name
          c/o Roy L. Weinfeld, PA                                    When was the debt incurred?
          2665 S. Douglas Rd.
          Suite 805
          Miami, FL 33133
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 2        John J. Jerue Truck Broker Inc                             Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Taylor & Associates, PL                                When was the debt incurred?
          20 3 St. SW
          Suite 209
          Winter Haven, FL 33880-2905
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 3        K & L Trailer Sales & Leasing Inc                          Last 4 digits of account number                                                          $972.30
          Nonpriority Creditor's Name
          7828 Rutledge Pike                                         When was the debt incurred?
          Knoxville, TN 37924
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.6
 4        K& L Trailer Leasing Inc.                                  Last 4 digits of account number                                                     $200,000.00
          Nonpriority Creditor's Name
          c/o Benjamin R. Jacobi, PA                                 When was the debt incurred?
          1313 NE 125th St.
          #200
          North Miami, FL 33161
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 5        Lending Club                                               Last 4 digits of account number       3440                                             $1,665.72
          Nonpriority Creditor's Name
          c/o Comenity Capital Bank                                  When was the debt incurred?
          Bankruptcy Department
          POB 183043
          Columbus, OH 43218-3043
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 6        McCarthy Tire Service Co.                                  Last 4 digits of account number       0270                                               $481.27
          Nonpriority Creditor's Name
          c/o Caine & Weiner                                         When was the debt incurred?
          POB 1125 340 Kidder St.
          Wilkes Barre, PA 18703
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.6
 7        Miami Dade Expressway Authority                            Last 4 digits of account number       2230                                                 $39.63
          Nonpriority Creditor's Name
          POB 865005                                                 When was the debt incurred?
          Orlando, FL 32886-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 8        Miami Dade Expressway Authority                            Last 4 digits of account number       5983                                                 $90.44
          Nonpriority Creditor's Name
          POB 865005                                                 When was the debt incurred?
          Orlando, FL 32886-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 9        Miami Dade Expressway Authority                            Last 4 digits of account number       5475                                                 $40.87
          Nonpriority Creditor's Name
          POB 865005                                                 When was the debt incurred?
          Orlando, FL 32886
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.7
 0        MultiSerivce                                               Last 4 digits of account number       7348                                             $5,789.66
          Nonpriority Creditor's Name
          8650 College Blvd.                                         When was the debt incurred?
          Overland Park, KS 66210
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 1        Navient                                                    Last 4 digits of account number       0905                                             $7,710.00
          Nonpriority Creditor's Name
                                                                                                           Opened 09/03 Last Active
          Po Box 9500                                                When was the debt incurred?           2/04/17
          Wilkes Barre, PA 18773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.7
 2        Nextran Rental and Leasing                                 Last 4 digits of account number                                                        $2,765.42
          Nonpriority Creditor's Name
          8100 Chancellor Dr.                                        When was the debt incurred?
          Orlando, FL 32808
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.7
 3        Pennsylvania Turnpike Commission                           Last 4 digits of account number       3980                                               $292.25
          Nonpriority Creditor's Name
          Violation Processing Center                                When was the debt incurred?
          8000 C Derry St.
          Harrisburg, PA 17111
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 4        Phillip Shenkman                                           Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          12946 SW 133rd Ct.                                         When was the debt incurred?
          Miami, FL 33186
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Professional Services


 4.7
 5        Pilot Travel Centers                                       Last 4 digits of account number       0598                                             $7,812.00
          Nonpriority Creditor's Name
          c/o Action Collection Serices Inc                          When was the debt incurred?
          6814 SW 83rd Place
          Miami, FL 33143
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 4.7
 6        Pioneer Park LLC                                           Last 4 digits of account number                                                     $142,793.02
          Nonpriority Creditor's Name
          POB 398321                                                 When was the debt incurred?
          San Francisco, CA 94139-8321
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 7        RTS Financial Service                                      Last 4 digits of account number                                                          $550.00
          Nonpriority Creditor's Name
          POB 840267                                                 When was the debt incurred?
          Dallas, TX 75284-0267
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 8        Russ Darrow Group Inc                                      Last 4 digits of account number                                                      $34,360.00
          Nonpriority Creditor's Name
          W133n8569 Executive Pkwy                                   When was the debt incurred?
          Menomonee Falls, WI 53051-3344
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 36
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                                  Case 17-16802-RAM                         Doc 1          Filed 05/31/17               Page 50 of 102
 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.7
 9        Service Tire Truck Center Inc                              Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Richard P. Joblove, PA                                 When was the debt incurred?
          12372 SW 82 Ave.
          First Floor
          Miami, FL 33156-5223
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 0        Service Tire Truck Centers                                 Last 4 digits of account number                                                      $17,520.75
          Nonpriority Creditor's Name
          2255 Avenue A                                              When was the debt incurred?
          Bethlehem, PA 18017
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 1        Space Coast Credit Uni                                     Last 4 digits of account number       2822                                           $48,766.00
          Nonpriority Creditor's Name
                                                                                                           Opened 12/15 Last Active
          8045 N Wickham Rd                                          When was the debt incurred?           8/13/16
          Melbourne, FL 32940
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile - repossession




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 36
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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.8
 2        Spireon Inc                                                Last 4 digits of account number                                                            $32.05
          Nonpriority Creditor's Name
          16802 Aston St.                                            When was the debt incurred?
          Irvine, CA 92606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 3        Stearns Bank, NA                                           Last 4 digits of account number                                                      $72,014.00
          Nonpriority Creditor's Name
          c/o Mitriani Raynor                                        When was the debt incurred?
          1200 Weston Rd.
          Penthouse
          Weston, FL 33326
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 4        Swift Financial Corporation                                Last 4 digits of account number                                                     $107,039.03
          Nonpriority Creditor's Name
          c/o Capehart & Scatchard, PA                               When was the debt incurred?
          8000 Midatlantic Dr.
          Suite 300 S
          Mount Laurel, NJ 08054
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 36
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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.8
 5        Syncb/care Credit                                          Last 4 digits of account number       6516                                             $4,203.00
          Nonpriority Creditor's Name
                                                                                                           Opened 06/11 Last Active
          950 Forrer Blvd                                            When was the debt incurred?           3/01/17
          Kettering, OH 45420
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.8      Tampa Hillsborough Expressway
 6        Authority                                                  Last 4 digits of account number       3402                                                 $28.34
          Nonpriority Creditor's Name
          POB 865460                                                 When was the debt incurred?
          Orlando, FL 32886-5460
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 7        Texas Department of Transportation                         Last 4 digits of account number                                                          $519.69
          Nonpriority Creditor's Name
          Attn: Financial Management -                               When was the debt incurred?
          Revenue
          POB 149001
          Austin, TX 79714-9001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.8
 8        Texas Department of Transportation                         Last 4 digits of account number       8793                                               $519.69
          Nonpriority Creditor's Name
          Attn: Financial Management Revenue                         When was the debt incurred?
          POB 149001
          Austin, TX 78714-9001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 9        Tire Max of South Florida                                  Last 4 digits of account number                                                          $437.59
          Nonpriority Creditor's Name
          9802 NW 80th Ave.                                          When was the debt incurred?
          Bay #6
          Hialeah, FL 33016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 0        TMobile                                                    Last 4 digits of account number       4502                                             $4,294.21
          Nonpriority Creditor's Name
          POB 790047                                                 When was the debt incurred?
          Saint Louis, MO 63179
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 36
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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.9
 1        Travel Centers of America                                  Last 4 digits of account number       0014                                             $5,171.66
          Nonpriority Creditor's Name
          c/o Action Collection Serices, LLC                         When was the debt incurred?
          22 Center St.
          Freehold, NJ 07728
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 2        TX Tag                                                     Last 4 digits of account number       8304                                                   $3.45
          Nonpriority Creditor's Name
          POB 650749                                                 When was the debt incurred?
          Dallas, TX 75265
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 3        Victor's Truck Diesel Mechanic                             Last 4 digits of account number                                                        $3,910.08
          Nonpriority Creditor's Name
          3912 Manitou Dr.                                           When was the debt incurred?
          Houston, TX 77013
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 34 of 36
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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 4.9
 4         Walmart Business Card                                     Last 4 digits of account number       4544                                                     $4,372.42
           Nonpriority Creditor's Name
           702 SW 8th St                                             When was the debt incurred?
           Bentonville, AR 72716
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BMW Financial Services                                        Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 9001065                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Louisville, KY 40290-1065
                                                               Last 4 digits of account number                  7561

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 K & L Trailer Leasing Inc                                     Line 4.63 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 POB 11248                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37939-1248
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Magnozzi & Kye LLP                                            Line 4.61 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 23 Green St.                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 302
 Huntington, NY 11743
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 McCarthy Burgess & Wolf                                       Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 26000 Cannon Rd.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44146
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mitriani Rynor et al                                          Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1200 Weston Rd.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Weston, FL 33326
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Modlin Slinsky PA                                             Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1551 Swgrass Corporate Pkwy                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 110
 Sunrise, FL 33323
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 POB 8068                                                      Line 4.83 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Virginia Beach, VA 23450                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 35 of 36
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 Debtor 1 Maria Montano                                                                                   Case number (if know)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Quinteros Prieto Wood & Boyer PA                              Line 4.62 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 9300 S. Dadeland Blvd.                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 4th Floor
 Miami, FL 33156
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Talianoff Rubin & Rubin                                       Line 4.70 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5858 Sunset Dr.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 105
 Miami, FL 33143
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                    26,689.77
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                    26,689.77

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                     7,710.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,703,094.04

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,710,804.04




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 36 of 36
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                                   Case 17-16802-RAM                        Doc 1   Filed 05/31/17            Page 57 of 102
 Fill in this information to identify your case:

 Debtor 1                  Maria Montano
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       BMW Financial Services                                                     2015 BMW 320
               5515 Park Center Circle
               Dublin, OH 43017

     2.2       The Towers of Key Biscayne Inc.                                            Lease on space used to operate business - 1121 Hair
               1211 Crandon Blvd.                                                         Designers and Boutique, Inc.
               Key Biscayne, FL 33149




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                     Case 17-16802-RAM                         Doc 1   Filed 05/31/17      Page 58 of 102
 Fill in this information to identify your case:

 Debtor 1                   Maria Montano
                            First Name                           Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name           Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:


    3.1         Marlene Diaz                                                                             Schedule D, line   2.1
                9415 S.W. 42nd Street                                                                    Schedule E/F, line
                Miami, FL 33155
                                                                                                         Schedule G
                                                                                                       Bayview Financial Loan



    3.2         Marlene Diaz                                                                             Schedule D, line   2.2
                9415 S.W. 42nd Street                                                                    Schedule E/F, line
                Miami, FL 33155
                                                                                                         Schedule G
                                                                                                       Bmw Financial Services



    3.3         Marlene Diaz                                                                             Schedule D, line
                9415 SW 42nd St.                                                                         Schedule E/F, line 4.16
                Miami, FL 33165-5224
                                                                                                         Schedule G
                                                                                                       Bmw Bank Of North Amer




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                                                                                             Check all schedules that apply:
    3.4      National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line 4.1
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Advantage Funding Commercial Capital Cor




    3.5      National Freight Masters, Inc.                                                      Schedule D, line
             4300 SW 73rd Ave.                                                                   Schedule E/F, line   4.2
             Suite 104
                                                                                                 Schedule G
             Miami, FL 33155-4512
                                                                                             Alliance One




    3.6      National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.3
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             American Express Bank FSB




    3.7      National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.4
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             American Express Bank, FSB




    3.8      National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.5
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




    3.9      National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.6
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




    3.10     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.7
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.11     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.8
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




    3.12     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.9
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




    3.13     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.10
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Amex




    3.14     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.11
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             AXE Trailers




    3.15     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.12
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Axis Capital




    3.16     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.13
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Bank of Lake Mills




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                                                                                             Check all schedules that apply:
    3.17     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.14
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Blue Bridge Financial LLC




    3.18     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.15
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             BMO Harris Bank, NA




    3.19     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.17
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             C.H. Brown Co.




    3.20     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.18
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Can Capital Asset Servicing, Inc.




    3.21     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.19
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             CanaFunding Capital LLC




    3.22     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.23
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Chase Ink




    3.23     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.24
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Comcast




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                                                                                             Check all schedules that apply:


    3.24     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.25
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Comdata




    3.25     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line 4.27
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Commonwealth of Massachusetts




    3.26     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.28
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Crystal Springs




    3.27     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.29
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Dell Business Credit




    3.28     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.30
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Dynamic Trackers Corp




    3.29     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.31
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Euler Hermes Collections North America




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                                                                                             Check all schedules that apply:
    3.30     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.32
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Farmers Insurance




    3.31     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.33
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             FedEx




    3.32     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.34
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Fleetmatics




    3.33     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.35
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.34     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.36
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.35     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.37
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.36     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.38
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




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                                                                                             Check all schedules that apply:


    3.37     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.39
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.38     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.40
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.39     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.41
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.40     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.42
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.41     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.43
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.42     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.44
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.43     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.45
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.44     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.46
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.45     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.47
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.46     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.48
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.47     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.49
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.48     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.50
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.49     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.51
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.50     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.52
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.51     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.53
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.52     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.54
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.53     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.55
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.54     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.56
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




    3.55     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.57
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Department of Transportation




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.56     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.58
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Florida Power & Light




    3.57     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.59
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Fuel Tech




    3.58     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.60
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Funding Circle




    3.59     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line    4.61
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Hitachi Capital America Corp




    3.60     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   2.3
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Internal Revenue Service




    3.61     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   2.4
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Internal Revenue Service




    3.62     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   2.5
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Internal Revenue Service




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.63     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   2.6
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Internal Revenue Service




    3.64     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.62
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             John J. Jerue Truck Broker Inc




    3.65     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.63
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             K & L Trailer Sales & Leasing Inc




    3.66     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line      4.64
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             K& L Trailer Leasing Inc.




    3.67     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.65
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Lending Club




    3.68     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line   4.66
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             McCarthy Tire Service Co.




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.69     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line 4.67
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Miami Dade Expressway Authority




    3.70     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line 4.68
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Miami Dade Expressway Authority




    3.71     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line 4.69
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Miami Dade Expressway Authority




    3.72     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.70
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             MultiSerivce




    3.73     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line   4.72
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Nextran Rental and Leasing




    3.74     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line   4.73
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Pennsylvania Turnpike Commission




    3.75     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.75
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Pilot Travel Centers




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.76     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.76
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Pioneer Park LLC




    3.77     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.77
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             RTS Financial Service




    3.78     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.78
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Russ Darrow Group Inc




    3.79     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.79
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Service Tire Truck Center Inc




    3.80     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.80
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Service Tire Truck Centers




    3.81     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.82
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Spireon Inc




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             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:
    3.82     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.83
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Stearns Bank, NA




    3.83     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.84
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Swift Financial Corporation




    3.84     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.86
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Tampa Hillsborough Expressway Authority




    3.85     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line   4.87
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Texas Department of Transportation




    3.86     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line   4.88
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Texas Department of Transportation




    3.87     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line    4.89
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Tire Max of South Florida




    3.88     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line    4.90
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             TMobile




Official Form 106H                                                       Schedule H: Your Codebtors                               Page 14 of 15
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 Debtor 1 Maria Montano                                                                 Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                         Column 2: The creditor to whom you owe the debt
                                                                                             Check all schedules that apply:


    3.89     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line   4.91
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Travel Centers of America




    3.90     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line     4.92
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             TX Tag




    3.91     National Freight Masters, Inc.                                                     Schedule D, line
             4300 SW 73rd Ave.                                                                  Schedule E/F, line    4.93
             Suite 104
                                                                                                Schedule G
             Miami, FL 33155-4512
                                                                                             Victor's Truck Diesel Mechanic




    3.92     National Freight Masters, Inc.                                                    Schedule D, line
             4300 SW 73rd Ave.                                                                 Schedule E/F, line  4.94
             Suite 104
                                                                                               Schedule G
             Miami, FL 33155-4512
                                                                                             Walmart Business Card




    3.93     Marlene Diaz                                                                      Schedule D, line
             9415 S.W. 42nd Street                                                             Schedule E/F, line
             Miami, FL 33155
                                                                                               Schedule G     2.1
                                                                                             BMW Financial Services




Official Form 106H                                                       Schedule H: Your Codebtors                              Page 15 of 15
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Fill in this information to identify your case:

Debtor 1                      Maria Montano

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            hair stylist
       Include part-time, seasonal, or
       self-employed work.                                         1121 Hair Designers and
                                             Employer's name       Boutique, Inc.
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   1121 Crandon Blvd.
                                                                   Key Biscayne, FL 33149

                                             How long employed there?         42 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        4,200.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      4,200.00           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Maria Montano                                                                         Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      4,200.00       $              N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,124.63       $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               N/A
      5e.   Insurance                                                                      5e.        $          0.00       $               N/A
      5f.   Domestic support obligations                                                   5f.        $          0.00       $               N/A
      5g.   Union dues                                                                     5g.        $          0.00       $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,124.63       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,075.37       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00       $               N/A
      8d. Unemployment compensation                                                        8d.        $          0.00       $               N/A
      8e. Social Security                                                                  8e.        $      1,689.00       $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,689.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              4,764.37 + $            N/A = $         4,764.37
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         4,764.37
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
                               Case 17-16802-RAM                      Doc 1        Filed 05/31/17           Page 75 of 102



Fill in this information to identify your case:

Debtor 1                 Maria Montano                                                                     Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF FLORIDA                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Mother                               95                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,660.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            500.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
                            Case 17-16802-RAM                       Doc 1         Filed 05/31/17               Page 76 of 102


Debtor 1     Maria Montano                                                                             Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                  0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                200.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                               150.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               200.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                675.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                  10.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  178.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  225.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  399.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                         $                                                150.00
      Specify: Support to elderly mother                                                     19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,997.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,997.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,764.37
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,997.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -1,232.63

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                     Case 17-16802-RAM                    Doc 1    Filed 05/31/17           Page 77 of 102




 Fill in this information to identify your case:

 Debtor 1                    Maria Montano
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Maria Montano                                                         X
              Maria Montano                                                             Signature of Debtor 2
              Signature of Debtor 1

              Date       May 31, 2017                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Maria Montano
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $15,000.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                                  Case 17-16802-RAM                        Doc 1        Filed 05/31/17              Page 79 of 102
 Debtor 1      Maria Montano                                                                               Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

                                                     Wages, commissions,                          $3,699.54          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $45,719.50           Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                          $2,943.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $37,932.00           Wages, commissions,
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                     Wages, commissions,                          $8,401.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                  Case 17-16802-RAM                        Doc 1        Filed 05/31/17              Page 80 of 102
 Debtor 1      Maria Montano                                                                               Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number
       Stearns Bank, N.A. v. National                                                       11th Judicial Circuit for                  Pending
       Freight Masters, Inc. et al.                                                         Miami-Dade, FL                             On appeal
       2017-004946-CA-01                                                                    111 N.W. 1st St.
                                                                                                                                       Concluded
                                                                                            Miami, FL 33128

       K & L Trailer v. National Fr(e)ight                                                  11th Judicial Circuit for                  Pending
       Masters, Inc. et al                                                                  Miami-Dade, FL                             On appeal
       2017-004743-CA-01                                                                    111 N.W. 1st St.
                                                                                                                                       Concluded
                                                                                            Miami, FL 33128

       American Express Bank v. National                                                    11th Judicial Circuit for                  Pending
       Freight Masters, Inc. et al                                                          Miami-Dade, FL                             On appeal
       2016-033098-CA-01                                                                    111 N.W. 1st St.
                                                                                                                                       Concluded
                                                                                            Miami, FL 33128

       Can Capital Asset Servcing Inc. v.                                                   11th Judicial Circuit for                  Pending
       National Freight Masters, Inc et al.                                                 Miami-Dade, FL                             On appeal
       2016-031162-CA-01                                                                    111 N.W. 1st St.
                                                                                                                                       Concluded
                                                                                            Miami, FL 33128


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 Debtor 1      Maria Montano                                                                               Case number (if known)



       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Advantage Funding Commercial                                                         11th Judicial Circuit for                   Pending
       Capital Corp. v. National Freight                                                    Miami-Dade, FL                              On appeal
       Masters, Inc. et al.                                                                 111 N.W. 1st St.
                                                                                                                                        Concluded
       2016-028148-CA-01                                                                    Miami, FL 33128

       BMO Harris Bank, N.A. v. National                                                    11th Judicial Circuit for                   Pending
       Freight Masters Inc, et al.                                                          Miami-Dade, FL                              On appeal
       2016-026991-CA-01                                                                    111 N.W. 1st St.
                                                                                                                                        Concluded
                                                                                            Miami, FL 33128

       American Express Bank FSB v. Maria                                                   11th Judicial Circuit for                   Pending
       Montano, et al.                                                                      Miami-Dade, FL                              On appeal
       2016-011999-CC-25                                                                    111 N.W. 1st St.
                                                                                                                                        Concluded
                                                                                            Miami, FL 33128

       Service Tire Truck Center, Inc. v.                                                   11th Judicial Circuit for                   Pending
       National Freight Masters, Inc.                                                       Miami-Dade, FL                              On appeal
       2016-CA-027069-01                                                                    111 N.W. 1st St.
                                                                                                                                        Concluded
                                                                                            Miami, FL 33128

       Hitachi Capital America Corp. v.                                                     11th Judicial Circuit for                   Pending
       National Freight Masters, Inc. et al.                                                Miami-Dade, FL                              On appeal
       2016-027277-CA-04                                                                    111 N.W. 1st St.
                                                                                                                                        Concluded
                                                                                            Miami, FL 33128

       John J. Jerue Truck Broker, Inc. v.                                                  10th Judicial Circuit for Polk              Pending
       Maria Montano, et al.                                                                Co., FL                                     On appeal
       2015CA-004097-0000-00                                                                255 N. Broadway
                                                                                                                                        Concluded
                                                                                            Drawer CC-1
                                                                                            Bartow, FL 33830

       Canafunding Capital LLC v. National                                                  Circuit Court, Jefferson Co.,               Pending
       Freightmasters et al.                                                                WI                                          On appeal
       17 CV 23                                                                             311 S. Center Ave.
                                                                                                                                        Concluded
                                                                                            Jefferson, WI 53549

       Blue Bridge Financial LLC v. National                                                11th Judicial Circuit for                   Pending
       Freight Masters Inc and Maria                                                        Miami-Dade, FL                              On appeal
       Montano                                                                              111 N.W. 1st St.
                                                                                                                                        Concluded
       2017-009147-CA-01                                                                    Miami, FL 33128

       CH Brown Co., LLC v. National                                                        11th Judicial Circuit for                   Pending
       Freight Masters, Inc. and Maria                                                      Miami-Dade, FL                              On appeal
       Montano                                                                              111 N.W. 1st St.
                                                                                                                                        Concluded
       2017-008763-CA-01                                                                    Miami, FL 33128


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




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 Debtor 1      Maria Montano                                                                               Case number (if known)



       Creditor Name and Address                                 Describe the Property                                        Date                 Value of the
                                                                                                                                                      property
                                                                 Explain what happened
       Space Coast Credit Union                                  Maserati (automobile) - purchased by Debtor's                2016                    Unknown
       8045 N. Wickham Rd.                                       adult daughter without knowledge of Debtor
       Melbourne, FL 32940
                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       Advantage Funding Commercial                              $14,000.00 - wages saved in Debtor's bank                    March 2017           $14,000.00
       Capital Cor                                               account
       c/o Mitriani Rynor
       1200 Weston Rd.                                               Property was repossessed.
       Weston, FL 33326                                              Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.

       Advantage Funding Commercial                              safe deposit box containing Debtor's adult                   March 2017              Unknown
       Capital Cor                                               daughter's (Marlene Diaz) jewelry
       c/o Mitriani Rynor
       1200 Weston Rd.                                               Property was repossessed.
       Weston, FL 33326                                              Property was foreclosed.
                                                                     Property was garnished.

                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was           Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave               Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                    Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)



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 Debtor 1      Maria Montano                                                                               Case number (if known)



 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
       how the loss occurred                                                                                                  loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Orshan, P.A.                                                  attorney's fees                                          11/25/17                    $3,500.00
       701 Brickell Ave.
       Suite 2000
       Miami, FL 33131
       www.orshanpa.com


       Orshan, P.A.                                                  attorney's fees                                          5/17/2017                   $1,500.00
       701 Brickell Ave.
       Suite 2000
       Miami, FL 33131
       paul@orshanpa.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       IRS                                                           $8000.00                                   cashier's check paid to         5/31/17
       POB 69                                                                                                   IRS for tax debt
       Memphis, TN 38101-0069




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 Debtor 1      Maria Montano                                                                                Case number (if known)



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was          Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                     State and ZIP Code)

       SunTrust Bank                                                 Marlene Diaz                           documents and adult daughter's        No
       Default Recovery Department                                   9415 S.W. 42nd Street                  (Marlene Diaz) jewelry                Yes
       PO Box 85041                                                  Miami, FL 33155
       CS-RVW-7942
       Richmond, VA 23285-5041


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




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 Debtor 1      Maria Montano                                                                                    Case number (if known)



       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Sara Montano                                                                                             Debtor receives and distributes             $499.30
       6836 SW 83 Place                                                                                         Social Security funds in the
       Miami, FL 33143                                                                                          amount of $499.30 on behalf of
                                                                                                                her dependent mother, Sara
                                                                                                                Montano, on a monthly basis.
                                                                                                                Debtor contributes to the care of
                                                                                                                her dependent mother with her
                                                                                                                own money to provide essential
                                                                                                                items that exceed the amount
                                                                                                                received in social security.


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation
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 Debtor 1      Maria Montano                                                                               Case number (if known)



             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        1121 Hair Designers and Boutique,                        hair salon                                      EIN:         XX-XXXXXXX
        Inc.
        1121 Crandon Blvd.                                       Goyado and Co.                                  From-To      1984 - present
        Key Biscayne, FL 33149

        National Freight Masters, Inc.                           freight transport                               EIN:         XX-XXXXXXX
        4300 S.W. 73d Ave.
        Suite 104                                                                                                From-To      2013-2017
        Miami, FL 33155


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Maria Montano
 Maria Montano                                                           Signature of Debtor 2
 Signature of Debtor 1

 Date      May 31, 2017                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                  Maria Montano
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF FLORIDA

 Case number
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                   12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Bayview Financial Loan                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of 9415 S.W. 42nd Street Miami, FL                          Reaffirmation Agreement.
    property       33155 Miami-Dade County                                  Retain the property and [explain]:
    securing debt: This is the Debtor's adult
                   daughter's home. Adult daughter
                   paid for and is living in this
                   home.Debtor has never provided
                   any funds used to purchase, pay
                   mortgage or improve the home.


    Creditor's         Bmw Financial Services                               Surrender the property.                            No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a               Yes
    Description of 2015 BMW 320 unknown miles                               Reaffirmation Agreement.
    property       LEASE - Debtor's adult daughter                          Retain the property and [explain]:
    securing debt: is also on the lease



    Creditor's         Nationstar Mortgage Ll                               Surrender the property.                            No


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                 page 1

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 Debtor 1      Maria Montano                                                                          Case number (if known)


     name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     6814 S.W. 83rd Place Miami, FL                      Reaffirmation Agreement.
     property           33149 Miami-Dade County                             Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               BMW Financial Services                                                                              No

                                                                                                                                  Yes

 Description of leased        2015 BMW 320
 Property:

 Lessor's name:               The Towers of Key Biscayne Inc.                                                                     No

                                                                                                                                  Yes

 Description of leased        Lease on space used to operate business - 1121 Hair Designers and Boutique,
 Property:                    Inc.


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Maria Montano                                                            X
       Maria Montano                                                                    Signature of Debtor 2
       Signature of Debtor 1

       Date        May 31, 2017                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Maria Montano                                                                             Case No.
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: May 31, 2017                                                    /s/ Maria Montano
                                                                       Maria Montano
                                                                       Signature of Debtor




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             Advantage Funding Commercial Capital Cor
             c/o Mitriani Raynor
             1200 Weston Rd.
             Penthouse
             Weston, FL 33326


             Alliance One
             6565 Kimball Dr.
             Suite 200
             Gig Harbor, WA 98335


             American Express Bank FSB
             c/o Lisa Di Salle
             9550 Regency Square Blvd.
             Suite 501
             Jacksonville, FL 32225


             American Express Bank, FSB
             c/o Modlin & Associates, PA
             1551 Sawgrass Corp. Pkwy.
             Suite 110
             Sunrise, FL 33323


             Amex
             Po Box 297871
             Fort Lauderdale, FL 33329


             AXE Trailers
             250 Congress Park Dr.
             Unit 420
             Delray Beach, FL 33445


             Axis Capital
             POB 911685
             Denver, CO 80291-1685


             Bank of Lake Mills
             136 E. Madison St.
             Lake Mills, WI 53551


             Bayview Financial Loan
             4425 Ponce De Leon Blvd
             Coral Gables, FL 33146
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         Blue Bridge Financial LLC
         535 Washington St.
         Suite 201
         Buffalo, NY 14203


         BMO Harris Bank, NA
         c/o Emanuel & Zwiebel, PLLC
         7900 Peters Rd., Executive Court at Jaca
         Building B, Suite 100
         Plantation, FL 33324


         Bmw Bank Of North Amer
         2735 E Parleys Ways Ste
         Salt Lake City, UT 84109


         Bmw Financial Services
         5515 Parkcenter Cir
         Dublin, OH 43017


         BMW Financial Services
         POB 9001065
         Louisville, KY 40290-1065


         BMW Financial Services
         5515 Park Center Circle
         Dublin, OH 43017


         C.H. Brown Co.
         c/o Perry Law, P.A.
         100 Main St.
         Suite 208
         Safety Harbor, FL 34695


         Can Capital Asset Servicing, Inc.
         c/o Mateer & Harbert, OA
         225 E. Robinson St.
         Orlando, FL 32802-2854


         CanaFunding Capital LLC
         c/o McCarty Law LLP
         2401 E. Enterprise Way
         Appleton, WI 54913


         Capital One Bank Usa N
         15000 Capital One Dr
         Richmond, VA 23238
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         Chase Card
         Po Box 15298
         Wilmington, DE 19850


         Chase Ink
         POB 15123
         Wilmington, DE 19850-5123


         Comcast
         POB 530098
         Atlanta, GA 30353


         Comdata
         c/o Jonathan Neil & Associates, Inc.
         18321 Ventura Blvd.
         Suite 1000
         Tarzana, CA 91356


         Comenitycapital/lndclb
         3100 Easton Square Pl
         Columbus, OH 43219


         Commonwealth of Massachusetts
         EZ Drive MA Payment Processing Center
         POB 847840
         Boston, MA 02284-7840


         Crystal Springs
         POB 660579
         Dallas, TX 75266-0579


         Dell Business Credit
         POB 5275
         Carol Stream, IL 60197-5275


         Dynamic Trackers Corp
         15151 W Dixie Hwy
         North Miami, FL 33162


         Euler Hermes Collections North America
         800 Red Brook Blvd
         Suite 400 C
         Owings Mills, MD 21117
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         Farmers Insurance
         POB 268992
         Oklahoma City, OK 73126-8992


         FedEx
         POB 660481
         Dallas, TX 75266-0481


         Fleetmatics
         1100 Winter St.
         4th Floor
         Waltham, MA 02451


         Florida Department of Revenue
         Miami South Service Center
         8175 NW 12 St.
         #119
         Miami, FL 33126-1828


         Florida Department of Transportation
         Toll-by-Plate
         POB 105477
         Atlanta, GA 30348-5477


         Florida Power & Light
         General Mail Facility
         Miami, FL 33188-0001


         Fuel Tech
         2565 Horizon Lake Dr.
         Suite 120
         Memphis, TN 38133


         Funding Circle
         c/o Law Offices of Sprechman & Fisher,PA
         2775 Sunny Isles Blvd.
         Suite 100
         Miami, FL 33160


         Hitachi Capital America Corp
         c/o Roy L. Weinfeld, PA
         2665 S. Douglas Rd.
         Suite 805
         Miami, FL 33133
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         Internal Renevue Service
         AUR CORR 5-E08-113
         Philadelphia, PA 19255-0521


         Internal Revenue Service
         Cincinnati, OH 45999-0039



         Internal Revenue Service
         Department of the Treasury
         Ogden, UT 84201-0039


         Internal Revenue Service
         Department of the Treasury
         Cincinnati, OH 45999-0039


         Internal Revenue Service
         Department of the Treasury
         Kansas City, MO 64999-0202


         John J. Jerue Truck Broker Inc
         c/o Taylor & Associates, PL
         20 3 St. SW
         Suite 209
         Winter Haven, FL 33880-2905


         K & L Trailer Leasing Inc
         POB 11248
         Knoxville, TN 37939-1248


         K & L Trailer Sales & Leasing Inc
         7828 Rutledge Pike
         Knoxville, TN 37924


         K& L Trailer Leasing Inc.
         c/o Benjamin R. Jacobi, PA
         1313 NE 125th St.
         #200
         North Miami, FL 33161


         Lending Club
         c/o Comenity Capital Bank
         Bankruptcy Department
         POB 183043
         Columbus, OH 43218-3043
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         Magnozzi & Kye LLP
         23 Green St.
         Suite 302
         Huntington, NY 11743


         Marlene Diaz
         9415 S.W. 42nd Street
         Miami, FL 33155


         Marlene Diaz
         9415 SW 42nd St.
         Miami, FL 33165-5224


         McCarthy Burgess & Wolf
         26000 Cannon Rd.
         Cleveland, OH 44146


         McCarthy Tire Service Co.
         c/o Caine & Weiner
         POB 1125 340 Kidder St.
         Wilkes Barre, PA 18703


         Miami Dade Expressway Authority
         POB 865005
         Orlando, FL 32886-0001


         Miami Dade Expressway Authority
         POB 865005
         Orlando, FL 32886


         Mitriani Rynor et al
         1200 Weston Rd.
         Weston, FL 33326


         Modlin Slinsky PA
         1551 Swgrass Corporate Pkwy
         Suite 110
         Sunrise, FL 33323


         MultiSerivce
         8650 College Blvd.
         Overland Park, KS 66210
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         National Freight Masters, Inc.
         4300 SW 73rd Ave.
         Suite 104
         Miami, FL 33155-4512


         Nationstar Mortgage Ll
         350 Highland Dr
         Lewisville, TX 75067


         Navient
         Po Box 9500
         Wilkes Barre, PA 18773


         Nextran Rental and Leasing
         8100 Chancellor Dr.
         Orlando, FL 32808


         Pennsylvania Turnpike Commission
         Violation Processing Center
         8000 C Derry St.
         Harrisburg, PA 17111


         Phillip Shenkman
         12946 SW 133rd Ct.
         Miami, FL 33186


         Pilot Travel Centers
         c/o Action Collection Serices Inc
         6814 SW 83rd Place
         Miami, FL 33143


         Pioneer Park LLC
         POB 398321
         San Francisco, CA 94139-8321


         POB 8068
         Virginia Beach, VA 23450



         Quinteros Prieto Wood & Boyer PA
         9300 S. Dadeland Blvd.
         4th Floor
         Miami, FL 33156
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         RTS Financial Service
         POB 840267
         Dallas, TX 75284-0267


         Russ Darrow Group Inc
         W133n8569 Executive Pkwy
         Menomonee Falls, WI 53051-3344


         Service Tire Truck Center Inc
         c/o Richard P. Joblove, PA
         12372 SW 82 Ave.
         First Floor
         Miami, FL 33156-5223


         Service Tire Truck Centers
         2255 Avenue A
         Bethlehem, PA 18017


         Space Coast Credit Uni
         8045 N Wickham Rd
         Melbourne, FL 32940


         Spireon Inc
         16802 Aston St.
         Irvine, CA 92606


         Stearns Bank, NA
         c/o Mitriani Raynor
         1200 Weston Rd.
         Penthouse
         Weston, FL 33326


         Swift Financial Corporation
         c/o Capehart & Scatchard, PA
         8000 Midatlantic Dr.
         Suite 300 S
         Mount Laurel, NJ 08054


         Syncb/care Credit
         950 Forrer Blvd
         Kettering, OH 45420


         Talianoff Rubin & Rubin
         5858 Sunset Dr.
         Suite 105
         Miami, FL 33143
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         Tampa Hillsborough Expressway Authority
         POB 865460
         Orlando, FL 32886-5460


         Texas Department of Transportation
         Attn: Financial Management - Revenue
         POB 149001
         Austin, TX 79714-9001


         Texas Department of Transportation
         Attn: Financial Management Revenue
         POB 149001
         Austin, TX 78714-9001


         The Towers of Key Biscayne Inc.
         1211 Crandon Blvd.
         Key Biscayne, FL 33149


         Tire Max of South Florida
         9802 NW 80th Ave.
         Bay #6
         Hialeah, FL 33016


         TMobile
         POB 790047
         Saint Louis, MO 63179


         Travel Centers of America
         c/o Action Collection Serices, LLC
         22 Center St.
         Freehold, NJ 07728


         TX Tag
         POB 650749
         Dallas, TX 75265


         Victor's Truck Diesel Mechanic
         3912 Manitou Dr.
         Houston, TX 77013


         Walmart Business Card
         702 SW 8th St
         Bentonville, AR 72716
